
PER CURIAM.*
hThe Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent mishandled her client trust account by maintaining personal funds in the account and allowing the account to become overdrawn as the result of her use of a debit card associated with the account. Prior to the institution of formal charges, respondent and the ODC submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Raven Matthews Pillette, Louisiana Bar Roll number 28286, be suspended from the practice of law for a period of one year and one day, with all but ninety days deferred, followed by a two-year period of supervised probation governed by the terms and conditions set forth in the Petition for Consent Discipline. The probationary period shall commence from the date respon*1022dent, the ODC, and the probation monitor execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred portion of the suspension executory, or imposing additional discipline,- as appropriate.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, | ¿with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.

 Chief Justice Kimball not participating in the opinion.

